     Case 3:24-cv-00180-HEH Document 20 Filed 08/02/24 Page 1 of 1 PageID# 139



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DMSION

TRUSTEESOFTHEPLUMBERSAND
STEAMFITTERS UNION LOCAL NO. 10
APPRENTICESHIP FUND,

         Plaintiff,

V.                                                         Civil Action No. 3:24CV00180-HEH

VICTORIA NAPKY,

         Defendant.
                                 INITIAL PRETRIAL ORDER

         At a pretrial conference held on August 1, 2024, this action was set for trial by a jury

to begin on MARCH 5, 2025 at 9:30 a.m.

         1.      The Scheduling Order and Pretrial Schedule A previously issued in this action

shall remain in effect.

         2.     A Final Pretrial Conference will be conducted on - - ~n/a- - ~ at which

time trial counsel shall appear and present for entry a Final Pretrial Order. The parties are

directed to this Court's Scheduling Order and Pretrial Schedule A, the terms of which are

specifically incorporated herein, for the requirements of the Final Pretrial Order.

        It is so ORDERED.

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                                                     Henry E. Hudson
                                                     Senior United States District Judge
Richmond, Virginia
Date: August 2, 2024
